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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                          GALVESTON DIVISION

MOVE Texas Civic Fund, et al.              §
                                           §
versus                                     §        Civil Action 3:19−cv−00041
                                           §
David Whitley, et al.                      §

                               NOTICE OF SETTING


     A telephonic Status Conference is set at the following date and time:

                             2/21/2019 at 04:15 PM CST
                          before Judge George C Hanks, Jr

     Please call the Court's conference line ten minutes prior to the scheduled hearing.

             Dial In: 409-763-7801
             Conference ID: 37801#
             Password: 60125#



Date: February 21, 2019
                                                                David J. Bradley, Clerk
